     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 1 of 9 Page ID #:226



 1   E. MARTIN ESTRADA
     United States Attorney
 2   CAMERON L. SCHROEDER
     Assistant United States Attorney
 3   Chief, National Security Division
     NISHA CHANDRAN (Cal. Bar No. 325345)
 4   Assistant United States Attorney
     Cyber and Intellectual Property Crimes Section
 5   MAXWELL COLL (Cal. Bar No. 312651)
     Assistant United States Attorney
 6   National Cryptocurrency Enforcement Team
          1500 United States Courthouse
 7        312 North Spring Street
          Los Angeles, California 90012
 8        Telephone: (213) 894-2429/1785
          Facsimile: (213) 894-0141
 9        E-mail:   nisha.chandran@usdoj.gov
                    maxwell.coll@usdoj.gov
10

11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12

13                          UNITED STATES DISTRICT COURT

14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,              No. CR 2:23-00596-RGK-1

16             Plaintiff,                   [PROPOSED] PROTECTIVE ORDER
                                            REGARDING DISCOVERY CONTAINING
17             v.                           PERSONAL IDENTIFYING INFORMATION,
                                            PRIVACY ACT INFORMATION, AND
18 LU ZHANG,                                COOPERATING WITNESS INFORMATION

19             Defendant.                   [58]

20

21

22        The Court has read and considered the parties’ Stipulation for

23   a Protective Order Regarding Discovery Containing Personal

24   Identifying Information, Privacy Act Information, and Confidential

25   Informant/Cooperating Witness Information, filed by the government

26   and defendant LU ZHANG (“defendant”) in this matter on January 29,

27   2024, which this Court incorporates by reference into this order,

28   and FOR GOOD CAUSE SHOWN the Court hereby FINDS AND ORDERS as
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 2 of 9 Page ID #:227



 1   follows:

 2        1.    The government’s discovery in this case relates to

 3   defendant’s alleged crimes, that is, Conspiracy to Commit Money

 4   Laundering, in violation of 18 U.S.C. § 1956(h); Concealment Money

 5   Laundering, in violation of 18 U.S.C. § 1956(a)(1)(B)(i); and

 6   International Money Laundering, in violation of 18 U.S.C. §

 7   1956(a)(2)(B)(i).

 8        2.    A protective order for the discovery is necessary so that

 9   the government can produce to the defense materials regarding

10   confidential informants or cooperating witnesses who participated in

11   the government’s investigation and who may testify at trial.

12   Because these materials could be used to identify the confidential

13   informants or cooperating witnesses, the Court finds that the

14   unauthorized dissemination or distribution of the materials may

15   compromise the ability of such persons to participate effectively in

16   future investigations in an undercover capacity and/or may expose

17   him/her to potential safety risks.

18        3.    A protective order for the discovery is also necessary so

19   that the government can produce to the defense materials containing

20   third parties’ PII.     The Court finds that disclosure of this

21   information without limitation risks the privacy and security of the

22   information’s legitimate owners.       Because the government has an

23   ongoing obligation to protect third parties’ PII, the government

24   cannot produce to defendant an unredacted set of discovery

25   containing this information without this Court entering the

26   Protective Order.    Moreover, PII makes up a significant part of the

27   discovery in this case and such information itself, in many

28   instances, has evidentiary value.          If the government were to attempt

                                            2
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 3 of 9 Page ID #:228



 1   to redact all this information in strict compliance with Federal

 2   Rule of Criminal Procedure 49.1, the Central District of

 3   California’s Local Rules regarding redaction, and the Privacy Policy

 4   of the United States Judicial Conference, the defense would receive

 5   a set of discovery that would be highly confusing and difficult to

 6   understand, and it would be challenging for defense counsel to

 7   adequately evaluate the case, provide advice to defendant, or

 8   prepare for trial.

 9        4.    An order is also necessary because the government intends

10   to produce to the defense materials that may contain information

11   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

12   Information”).    The Court finds that, to the extent that these

13   materials contain Privacy Act information, disclosure is authorized

14   pursuant to 5 U.S.C. § 552a(b)(11).

15        5.    The purpose of this Protective Order is therefore to

16   (a) allow the government to comply with its discovery obligations

17   while protecting this sensitive information from unauthorized

18   dissemination, and (b) provide the defense with sufficient

19   information to adequately represent defendant.

20        6.    Accordingly, the discovery that the government will

21   provide to defense counsel in the above-captioned case will be

22   subject to this Protective Order, as follows:

23              a.    As used herein, “CI Materials” includes any

24   information relating to a confidential informant’s or cooperating

25   witness’s prior history of cooperation with law enforcement, prior

26   criminal history, statements, or any other information that could be

27   used to identify a confidential informant or cooperating witness,

28   such as a name, image, address, date of birth, or unique personal

                                            3
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 4 of 9 Page ID #:229



 1   identification number, such as a Social Security number, driver’s

 2   license number, account number, or telephone number.

 3              b.    As used herein, “PII Materials” includes any

 4   information that can be used to identify a person, including a name,

 5   address, date of birth, Social Security number, driver’s license

 6   number, telephone number, account number, email address, or personal

 7   identification number.

 8              c.    “Confidential Information” refers to any document or

 9   information containing CI Materials or PII Materials that the

10   government produces to the defense pursuant to this Protective Order

11   and any copies thereof.

12              d.    “Defense Team” includes (1) defendant’s counsel of

13   record (“defense counsel”); (2) other attorneys at defense counsel’s

14   law firm who may be consulted regarding case strategy in this case;

15   (3) defense investigators who are assisting defense counsel with

16   this case; (4) retained experts or potential experts; and

17   (5) paralegals, legal assistants, and other support staff to defense

18   counsel who are providing assistance on this case.          The Defense Team

19   does not include defendant, defendant’s family members, or any other

20   associates of defendant.

21              e.    The government is authorized to provide defense

22   counsel with Confidential Information marked with the following

23   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

24   ORDER.”   The government may put that legend on the digital medium

25   (such as DVD or hard drive) or simply label a digital folder on the

26   digital medium to cover the content of that digital folder.           The

27   government may also redact any PII contained in the production of

28   Confidential Information.

                                            4
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 5 of 9 Page ID #:230



 1              f.    If defendant objects to a designation that material

 2   contains Confidential Information, the parties shall meet and

 3   confer.   If the parties cannot reach an agreement regarding

 4   defendant’s objection, defendant may apply to this Court to have the

 5   designation removed.

 6              g.    Defendant and the Defense Team shall use the

 7   Confidential Information solely to prepare for any pretrial motions,

 8   plea negotiations, trial, and sentencing hearing in this case, as

 9   well as any appellate and post-conviction proceedings.

10              h.    The Defense Team shall not permit anyone other than

11   the Defense Team to have possession of Confidential Information,

12   including defendant, while outside the presence of the Defense Team.

13              i.    Notwithstanding the above, defendant may see and

14   review CI Materials only in the presence of defense counsel, and

15   defense counsel shall ensure that defendant is never left alone with

16   any CI Materials.    At the conclusion of any meeting with defendant

17   at which defendant is permitted to view CI Materials, defendant must

18   return any CI Materials to defense counsel, who shall take all such

19   materials with counsel.     Defendant may not take any CI Materials out

20   of the room in which defendant is meeting with defense counsel.               At

21   no time, under no circumstance, will any Confidential Information be

22   left in the possession, custody, or control of defendant, regardless

23   of defendant’s custody status.

24              j.    Defendant may review PII Materials only in the

25   presence of a member of the Defense Team, who shall ensure that

26   defendant is never left alone with any PII Materials.          At the

27   conclusion of any meeting with defendant at which defendant is

28   permitted to view PII Materials, defendant must return any PII

                                            5
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 6 of 9 Page ID #:231



 1   Materials to the Defense Team, and the member of the Defense Team

 2   present shall take all such materials with him or her.           Defendant

 3   may not take any PII Materials out of the room in which defendant is

 4   meeting with the Defense Team.

 5                k.   Defendant may see and review Confidential Information

 6   as permitted by this Protective Order, but defendant may not copy,

 7   keep, maintain, or otherwise possess any Confidential Information in

 8   this case at any time.     Defendant also may not write down or

 9   memorialize any data or information contained in the Confidential

10   Information.

11                l.   The Defense Team may review Confidential Information

12   with a witness or potential witness in this case, including

13   defendant.    Defense counsel must be present whenever any CI

14   Materials are being shown to a witness or potential witness.            A

15   member of the Defense Team must be present if PII Materials are

16   being shown to a witness or potential witness.         Before being shown

17   any portion of Confidential Information, however, any witness or

18   potential witness must be informed of, and agree in writing to be

19   bound by, the requirements of the Protective Order.          No member of

20   the Defense Team shall permit a witness or potential witness to

21   retain Confidential Information or any notes generated from

22   Confidential Information.

23                m.   The Defense Team shall maintain Confidential

24   Information safely and securely, and shall exercise reasonable care

25   in ensuring the confidentiality of those materials by (1) not

26   permitting anyone other than members of the Defense Team, defendant,

27   witnesses, and potential witnesses, as restricted above, to see

28   Confidential Information; (2) not divulging to anyone other than

                                            6
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 7 of 9 Page ID #:232



 1   members of the Defense Team, defendant, witnesses, and potential

 2   witnesses, the contents of Confidential Information; and (3) not

 3   permitting Confidential Information to be outside the Defense Team’s

 4   offices, homes, vehicles, or personal presence.         CI Materials shall

 5   not be left unattended in any vehicle.

 6              n.    To the extent that defendant, the Defense Team,

 7   witnesses, or potential witnesses create notes that contain, in

 8   whole or in part, Confidential Information, or to the extent that

 9   copies are made for authorized use by members of the Defense Team,

10   such notes, copies, or reproductions become Confidential Information

11   subject to the Protective Order and must be handled in accordance

12   with the terms of the Protective Order.

13              o.    The Defense Team shall use Confidential Information

14   only for the litigation of this matter and for no other purpose.

15   Litigation of this matter includes any appeal filed by defendant and

16   any motion filed by defendant pursuant to 28 U.S.C. § 2255.           In the

17   event that a party needs to file Confidential Information with the

18   Court or divulge the contents of Confidential Information in court

19   filings, the filing should be made under seal.         If the Court rejects

20   the request to file such information under seal, the party seeking

21   to file such information publicly shall provide advance written

22   notice to the other party to afford such party an opportunity to

23   object or otherwise respond to such intention.         If the other party

24   does not object to the proposed filing, the party seeking to file

25   such information shall redact any CI Materials or PII Materials and

26   make all reasonable attempts to limit the divulging of CI Materials

27   or PII Materials.

28

                                            7
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 8 of 9 Page ID #:233



 1              p.    Any Confidential Information inadvertently produced

 2   in the course of discovery prior to entry of the Protective Order

 3   shall be subject to the terms of this Protective Order.           If

 4   Confidential Information was inadvertently produced prior to entry

 5   of the Protective Order without being marked “CONFIDENTIAL

 6   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

 7   shall reproduce the material with the correct designation and notify

 8   defense counsel of the error.      The Defense Team shall take immediate

 9   steps to destroy the unmarked material, including any copies.

10              q.    If any Confidential Information contains both CI

11   Materials and another category of Confidential Information, the

12   information shall be handled in accordance with the CI Materials

13   provisions of this Protective Order.

14              r.    Confidential Information shall not be used by any

15   member of the defense team, in any way, in any other matter, absent

16   an order by this Court.     All materials designated subject to the

17   Protective Order maintained in the Defense Team’s files shall remain

18   subject to the Protective Order unless and until such order is

19   modified by this Court.     Within 30 days of the conclusion of

20   appellate and post-conviction proceedings, defense counsel shall

21   return CI Materials to the government or certify that such materials

22   have been destroyed.     Upon request by the government, defense

23   counsel shall return all PII Materials, certify that such materials

24   have been destroyed, or certify that such materials are being kept

25   pursuant to the California Business and Professions Code and the

26   California Rules of Professional Conduct.

27              s.    In the event that there is a substitution of counsel

28   prior to when such documents must be returned, new defense counsel

                                            8
     Case 2:23-cr-00596-RGK Document 61 Filed 01/30/24 Page 9 of 9 Page ID #:234



 1   must be informed of, and agree in writing to be bound by, the

 2   requirements of the Protective Order before defense counsel

 3   transfers any Confidential Information to the new defense counsel.

 4   New defense counsel’s written agreement to be bound by the terms of

 5   the Protective Order must be returned to the Assistant U.S.

 6   Attorneys assigned to the case.       New defense counsel then will

 7   become the Defense Team’s custodian of materials designated subject

 8   to the Protective Order and shall then become responsible, upon the

 9   conclusion of appellate and post-conviction proceedings, for

10   (1) returning to the government, certifying the destruction of, or

11   retaining pursuant to the California Business and Professions Code

12   and the California Rules of Professional Conduct all PII Materials,

13   and (2) returning to the government or certifying the destruction of

14   all CI Materials.

15               t.   Defense counsel shall advise defendant and all

16   members of the Defense Team of their obligations under the

17   Protective Order and ensure their agreement to follow the Protective

18   Order, prior to providing defendant and members of the Defense Team

19   with access to any materials subject to the Protective Order.

20          IT IS SO ORDERED.

21

22   1/30/2024

23   DATE                                       HONORABLE R. GARY KLAUSNER
                                                UNITED STATES DISTRICT JUDGE
24

25   Presented by:
26
      /s/ Maxwell Coll
27   MAXWELL COLL
     Assistant United States Attorney
28

                                            9
